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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

MICHAELA HEMPHILL, et al.,                     )
                                               )
       Plaintiffs,                             )
                                               )
       v.                                      )            Civil Action No. 22-CV-1391
                                               )
MIGUEL CARDONA, Secretary of the               )
United States Department of Education, et al., )
                                               )
       Defendants.                             )
__________________________________________)

                                  JOINT STATUS REPORT

       Pursuant to this Court’s Order on September 28, 2022, the parties provide this joint status

report. For the reasons stated below, the parties respectfully propose providing this Court another

joint status report on December 20, 2022.

Joint Statement

       This case seeks class-wide relief pursuant to 5 U.S.C. § 706 on behalf of certain students

who enrolled in the Criminal Justice program at Westwood College in Illinois and are part of a

request submitted in 2016 by the Illinois Attorney General’s Office to the U.S. Department of

Education to have their federal student loans discharged. Defendants, Miguel Cardona, in his

official capacity as the Secretary of Education, and the United States Department of Education

(together, “Department”) filed an Answer to Plaintiffs’ Amended Complaint on August 25, 2022.

There are no other pending deadlines in the case.

       On August 30, 2022, the Department announced that it will “discharge all remaining

federal student loans for borrowers who enrolled in any location of Westwood College (including

enrollment in Westwood's online program) between January 1, 2002 through November 17, 2015

when it stopped enrolling new borrowers in advance of its 2016 closure.” Press Release, U.S. Dep’t
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of Educ., Education Department Approves $1.5 billion in Debt Relief for 79,000 Borrowers Who

Attended     Westwood       College    (August     30,    2022),     https://www.ed.gov/news/press-

releases/education-department-approves-15-billion-debt-relief-79000-borrowers-who-attended-

westwood-college. The Department has not yet issued notice of these discharges directly to

affected borrowers.

       Since the last joint status report submitted on September 28, the parties have continued to

make progress discussing the details of the Department’s implementation of debt relief for former

Westwood students; how such implementation will impact the named Plaintiffs and proposed class

in this litigation; and how such implementation will affect future litigation in this case, if any.

       As discussions between the parties are ongoing, the parties respectfully propose providing

this Court another joint status report on December 20, 2022.



Dated: November 17, 2022                       Respectfully submitted,



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*application for admission pro hac vice granted
**application for admission to D.D.C. forthcoming
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App. R. 46-A (Emergency Examination Waiver)



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